
PER CURIAM.
Appellant raises two issues on appeal: first, whether the trial court erred by exceeding its statutory authority when it increased the commitment level upon a motion of a party other than the Department; and second, whether this court should remand with instructions to enter an amended disposition order which deletes the attachments suggesting Appellant is subject to post-commitment probation. We AFFIRM the first issue on the merits, but REMAND as to the second issue, with instructions for the trial court to enter an amended disposition order without the attachments, which indicate Appellant is subject to post-commitment probation. The State concedes there was no post-commitment probation ordered and does not oppose correction of the scrivener’s error. See Smith v. State, 614 So.2d 602 (Fla. 1st DCA 1993).
VAN NORTWICK, PADOVANO and ROWE, JJ., concur.
